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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION


MARK CORBITT,                                  §
Plaintiff,                                     §
                                               §
                                               §
                                               §
                                               §
VS.                                            §     Civil Action No. 1:22-cv-4
                                               §
                                               §
                                               §
                                               §
LAKEVIEW LOAN SERVICING, LLC,                  §
Defendant.                                     §
                                               §




            MOTION FOR WITHDRAWAL AND SUBSTITUTION OF COUNSEL


TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Lakeview Loan Servicing, LLC (“Defendant”) and files this Motion for

Withdrawal and Substitution of Counsel, and in support thereof, would respectfully show as

follows:

       1.      Defendant has retained Kelly J. Harvey, of the Harvey Law Group, to represent it

in this case. Defendant moves the Court to allow the withdrawal of Shelley L. Hopkins, of

HOPKINS LAW, PLLC, and as Of Counsel to BARRETT DAFFIN FRAPPIER TURNER &

ENGEL, LLP, and Robert D. Forster, II, of BARRETT DAFFIN FRAPPIER TURNER &

ENGEL, LLP as its counsel of record in this case and substitute Kelly J. Harvey of the Harvey

Law Group as its counsel of record.
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        2.      The contact information for Kelly J. Harvey is as follows:

                       Kelly J. Harvey
                       HARVEY LAW GROUP
                       SBN:09180150
                       SDN:17194
                       P.O. Box 131407
                       Houston, Texas 77219
                       Telephone: (832) 922-4000
                       Facsimile: (832) 922-6262
                       E-mail: kelly@kellyharvey.com


        3.      As indicated in the certificate of conference below, the undersigned counsel has

attempted to confer with all parties, and all parties are in agreement with the relief requested in

the Motion except for counsel for the Intervenor, who has not responded to the undersigned’s

attempts to confer.


        WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests that the

Court grant this motion and that Shelley L. Hopkins, of HOPKINS LAW, PLLC, and as Of

Counsel to BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP, and Robert D. Forster,

II, of BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP be allowed to withdraw as its

counsel of record and substitute Kelly J. Harvey of the Harvey Law Group as its counsel of

record in this case.

Dated: April 18, 2022

                                              Respectfully submitted,

                                              HARVEY LAW GROUP

                                              /s/ Kelly J. Harvey
                                              Kelly J. Harvey
                                              e-mail: kelly@kellyharvey.com
                                              SBN: 09180150
                                              SD:17194
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                                              Houston, Texas 77219
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                                           Facsimile: (832) 922-6262
                                           Attorney for Defendant


                                           /s/ Shelley L. Hopkins
                                           Shelley L. Hopkins – Attorney In Charge
                                           State Bar No. 24036497
                                           SD ID No. 926469
                                           HOPKINS LAW, PLLC
                                           3 Lakeway Centre Ct., Suite 110 Austin, Texas
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                                           BARRETT DAFFIN FRAPPIER TURNER &
                                           ENGEL, LLP - Of Counsel
                                           ShelleyH@bdfgroup.com
                                           shelley@hopkinslawtexas.com

                                           /s/ Robert D. Forster, II
                                           Robert D. Forster, II
                                           State Bar No. 24048470
                                           SD ID No. 2647781
                                           BARRETT DAFFIN FRAPPIER TURNER &
                                           ENGEL, LLP 4004 Belt Line Road, Ste. 100
                                           Addison, Texas 75001
                                           (972) 386-5040
                                           (972) 341-0734 (Facsimile)
                                           RobertFO@bdfgroup.com



                            CERTIFICATE OF CONFERENCE

        I hereby certify that I have attempted to confer with all counsel in this matter. All
attorneys with the exception of the attorney for the intervenor, Mr. Robles, are in agreement
with the relief requested in this motion. Mr. Robles did not respond to my several attempts to
confer.
                                                          /s/ Kelly J. Harvey
                                                          Kelly J. Harvey


                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing Motion for

Substitution of Counsel has been forwarded to all parties of record, via ECF filing on this the

18th day of April, 2022.

                                           /s/ Kelly J. Harvey
                                           Kelly J. Harvey
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VIA ECF:
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ATTORNEYS FOR PLAINTIFF

VIA ECF:
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ATTORNEYS FOR INTERVENOR
